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                                                                                                United States Bankruptcy Court
                                                                                                     Southern District of Texas

                                                                                                        ENTERED
                       IN THE UNITED STATES BANKRUPTCY COURT                                        September 12, 2023
                         FOR THE SOUTHERN DISTRICT OF TEXAS                                          Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

IN RE:                          §
                                §
HOUSTON REAL ESTATE PROPERTIES, §                                     CASE NO. 22-32998
LLC,                            §                                        (Chapter 7)
      Debtor.                   §
                                §
JOHN QUINLAN, OMAR KHAWAJA,     §
AND OSAMA ABDULLATIF,           §
             Movants,           §                                     ADVERSARY NO. 23-03141
                                §
v.                              §
                                §
HOUSTON REAL ESTATE PROPERTIES, §
LLC, et al.,                    §
             Respondents.       §

                                              AGREED ORDER
         The Court notes that on September 1, 2023, it granted a Temporary Restraining Order [See

Document Nos. 37 and 45], which set a hearing for the 12th of September 2023. The Temporary

Restraining Order precluded Cypress BridgCo, LLC and Magnolia BridgeCo, LLC from, inter

alia, foreclosing on the following properties with the common addresses of:

                   [1] 2503 S. Shepherd Dr., Houston, Texas 77019;
                   [2] 2421 Shepherd Dr., Houston, Texas 77019;
                   [3] 2502 Huldy St., Houston, Texas 77019;
                   [4] 2424 Huldy St., Houston, Texas 77019;
                   [5] 9201 Memorial Drive, Houston, Texas 77024; and
                   [6] 2727 Kirby 26L, Houston, Texas 77098;

all located in Harris County, Texas (the “Properties”). 1 The Properties are all owned by certain

Respondents, who have appeared in this matter. Since that time the Movants and Cypress BridgCo,

LLC and Magnolia BridgeCo, LLC have conferred and reached an agreement regarding the



1
 The Proper�es are legally described in in the applicable No�ces of Foreclosure Sale and Deeds of Trust, which are
a part of the Court’s record and hereby incorporated. See Document Nos. 25, 25-1, 25-2, and 25-3.

                                                        1

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matters raised in and concerning the Temporary Restraining Order and the Bankruptcy Trustee,

Randy W. Williams (the “Trustee”) is in agreement therewith. The Court, considering the

agreement of the aforementioned parties, is of the opinion that the relief requested herein should

be granted. It is therefore,

         ORDERED, ADJUDGED AND DECREED, that the Properties shall be sold by the

Trustee. It is further,

         ORDERED, ADJUDGED AND DECREED, that the Trustee shall retain such

professionals as are required to assist in liquidation of the Properties, subject to approval of the

Bankruptcy Court. It is further,

         ORDERED, ADJUDGED AND DECREED, that the Trustee shall obtain approval of the

Bankruptcy Court prior to consummation of any sale of the Properties.                  It is further,

         ORDERED, ADJUDGED AND DECREED, that, subject to approval of the Bankruptcy

Court, the proceeds from the sale shall be paid to satisfy the debts of Cypress BridgeCo, LLC and

Magnolia BridgeCo, LLC, for the Properties, and as agreed by the parties hereto, with the excess

proceeds (i.e. equity in the Properties) being held, by the Trustee, under this Court’s jurisdiction,

until such time as this lawsuit is adjudicated and a final distribution to the appropriate parties may

be later determined. It is further,

         ORDERED, ADJUDGED AND DECREED, that Cypress BridgeCo, LLC and Magnolia

BridgeCo, LLC consent to reimbursement of the Trustee’s reasonable fees and expenses (including

Trustee’s fees as determined by Section 326 of the Bankruptcy Code, attorney’s fees and real estate

broker’s fees) from the gross proceeds of sale of the Properties, subject to approval of the

Bankruptcy Court.

                          September   12, 2023
                            April 04, 2018


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         SIGNED on this ____ day of September 2023.




                                                 JUDGE PRESIDING
AGREED:




_______________________________                  ___/S/ Robert P. Debelak III – by permission
T. Michael Ballases, Counsel for Movants         Robert P. Debelak III, Counsel for Cypress
                                                 BridgCo, LLC and Magnolia BridgeCo, LLC



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Tim Wentworth, Counsel for Bankruptcy
Trustee, Randy Williams




                                             3

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